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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                                 Case No.


  CHRISTOPHER HANSEN,

                          Plaintiff,


  MAJESTIC HOTEL SOUTH BEACH LLC,

                     Defendants.
  ________________________________/

                                              COMPLAINT

          Plaintiff, CHRISTOPHER HANSEN, by his undersigned counsel, hereby files this

  Complaint and sues, MAJESTIC HOTEL SOUTH BEACH LLC, for injunctive relief pursuant

  to the Americans with Disabilities Act, 42 U.S.C. § 12181, et seq., (hereinafter the “A.D.A”), the

  ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (hereinafter the “ADAAG”), and the Florida

  Building Code.

          1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C., §§1331,

  and 1343 for Plaintiff’s claims arising under 42 U.S.C. § 12181. et seq., based upon Defendant’s

  violations of Title III of the ADA (see also, 28 U.S.C. §§ 2201 and 2202).

                                                 VENUE

          2.      Venue lies in this district pursuant to 28 U.S.C. § 1391(b) because, inter alia, the

  property that is the subject of this action is situated within this district and the events giving rise

  to the claims asserted herein occurred in this district.

                                                 PARTIES




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          3.      Plaintiff, CHRISTOPHER HANSEN, is a lifelong resident of Florida and

  currently lives in Miami, and is sui juris. He is a qualified individual with disabilities under the

  ADA law. Christopher is a partial quadriplegic, as a result of a skim boarding accident in 2003.

  He is required to ambulate in a wheelchair. Mr. Hansen owns his own vehicle and does drive.

  Plaintiff uses a wheel chair to ambulate. Plaintiffs access to the premises described below (the

  "Property" or “Facility”) through Defendant's reservation system contained on its website, and

  therefore his full and equal enjoyment of the goods, services, facilities, privileges, advantages

  and/or accommodations offered at the Property, were restricted and limited because of Plaintiff s

  disability and will be restricted in the future unless and until Defendant is compelled to cure the

  ADA violations relating to the reservation system contained on its website. Plaintiff is aware of

  other violations that exist at the facility as it relates to the property itself. Plaintiff intends to visit

  Defendant's reservation system on its website for the Property soon to avail himself of the goods

  and services offered therein. Plaintiff plans to avail himself of the goods and services offered to

  the public at the property, and/or to determine whether the property has been made ADA

  compliant. His access to the facility and/or full and equal enjoyment of the goods, services,

  facilities, privileges, advantages, and/or accommodations offered therein was denied and/or

  limited because of these disabilities, and will be denied and/or limited in the future unless and

  until Defendants are compelled to remove the physical barriers to access and ADA violations

  which exist at the facility, including but not limited, to those set forth in the Complaint.

          4.      Defendant, MAJESTIC HOTEL SOUTH BEACH LLC, transacts business in the

  State of Florida and within this judicial district. Defendant is the owner and operator of the

  Property, a motel located at 600 Ocean Dr. Miami Beach, Florida and the corresponding

  reservation system found on its website at http://www.majesticsouthbeach.com/



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                               CLAIM FOR INJUNCTIVE RELIEF

         5.      On July 26, 1990, Congress enacted the ADA explaining that the purpose of the

   ADA was to provide a clear and comprehensive national mandate for the elimination of

   discrimination against individuals with disabilities and to provide clear, strong, consistent,

   enforceable standards addressing said discrimination, invoking the sweep of congressional

   authority in order to address the major areas of discrimination faced day-to-day by people with

   disabilities to ensure that the Federal government plays a central role in enforcing the standards

   set by the ADA. (42 U.S.C. § 12101(b)(l)-(4)).

         6.      Pursuant to the mandates of 42 U.S.C. §12134(a), on September 15, 2010, the

   Department of Justice, Office of the Attorney General, published revised regulations for Title

   III. of the Americans With Disabilities Act of 1990 in the Federal Register to implement the

   requirements of the ADA. Public accommodations, including places of lodging, were required

   to conform to these regulations on or before March 15, 2012.

         7.      On March 15, 2012, new regulations implementing Title III of the ADA took

   effect, imposing significant new obligations on inns, motels, hotels and other "places of

   lodging". 28 C.F.R. §36.302(e)(l) states:

           "(1) Reservations made by places of lodging. A public accommodation that owns, leases
         (or leases to), or operates a place of lodging shall, with respect to reservations made by
         any means, including by telephone, in-person, or through a third party
         (i) Modify its policies, practices, or procedures to ensure that individuals with disabilities
         can make reservations for accessible guest rooms during the same hours and in the same
         manner as individuals who do not need accessible rooms;
         (ii) Identify and describe accessible features in the hotels and guest rooms offered
         through its reservations service in enough detail to reasonably permit individuals with
         disabilities to assess independently whether a given hotel or guest room meets his or her
         accessibility needs;
         (iii) Ensure that accessible guest rooms are held for use by individuals with disabilities
         until all other guest rooms of that type have been rented and the accessible room
         requested is the only remaining room of that type;



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         (iv) Reserve, upon request, accessible guest rooms or specific types of guest rooms and
         ensure that the guest rooms requested are blocked and removed from all reservations
         systems; and
         (v) Guarantee that the specific accessible guest room reserved through its reservations
         service is held for the reserving customer, regardless of whether a specific room is held in
         response to reservations made by others."

         8.      The Property is a place of public accommodation that owns and/or leases and

   operates a place of lodging pursuant to the ADA. The Defendant maintains a website for the

   Property which contains an online reservation system whereby potential patrons may reserve a

   hotel room. The reservation system is subject to the requirements of ADA, 28 C.F.R.§

   36.302(e).

         9.      Plaintiff attempted to specifically identify and book a guaranteed reservation for

   an accessible room at the Property through Defendant's online reservation system but was

   unable to do so due to Defendant's failure to comply with the requirements set forth in

   paragraph 7, which precludes and/or limits Plaintiffs access to the Property and/or the goods,

   services, facilities, privileges, advantages and/or accommodations offered therein.

         10.     Plaintiff is also an advocate of the rights of similarly situated disabled persons

   and, pursuant to Houston v. Marod Supermarkets, Inc., 733 F.3d 1323 (11th Cir. 2013), is a

   "tester" for the purpose of asserting his civil rights, monitoring, ensuring, and determining

  whether places of public accommodation, including places of lodging and their reservation

  systems, are in compliance with the ADA.

         11.     Plaintiff intends to visit Defendant's online reservation system on the Property's

   website soon in order to test it for compliance with the mobility-related provisions of the ADA

   and/or to utilize the online reservation system to book a hotel room and utilize the goods,

   services, facilities, privileges, advantages and/or accommodations offered at the Property.

         12.     Defendant has discriminated against Plaintiff by denying him access to and full

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  and equal enjoyment of the goods, services, facilities, privileges, advantages and

  accommodations offered at the Property due to the ADA violations contained in its online

  reservation system for the Property and Defendant will continue to discriminate against Plaintiff

  unless and until Defendant modifies its online reservation system and implements policies to do

  so, consistent with the ADA, to accommodate the disabled, thus making the Property accessible

  to Plaintiff.

          13. The ADA violations for Defendant's online reservation system for the Property

  consist of the following:

          a) A failure of any policy, practice, or procedure ensuring that individuals with

   disabilities can make reservations for accessible guest rooms during the same hours and in the

   same manner as individuals who do not need accessible rooms;

          b) A failure to identify and describe accessible and inaccessible features in the hotel and

   guest rooms offered through the reservations service in enough detail to reasonably permit

   individuals with disabilities to assess independently whether the hotel or specific guest rooms

   meets his or her accessibility needs;

          c) A failure to ensure that accessible guest rooms are held for use by individuals with

   disabilities until all other guest rooms of that type have been rented and the accessible room

   requested is the only remaining room of that type;

          d) A failure to reserve, upon request, accessible guest rooms or specific types of guest

   rooms and ensure that the guest rooms requested are blocked and removed from all reservations

   systems; and




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         e) A failure to guarantee that the specific accessible guest room reserved through the

   reservations service is held for the reserving customer, regardless of whether a specific room is

   held in response to reservations made by others.

         14.      Plaintiff is without an adequate remedy at law and is suffering irreparable harm

         and he reasonably anticipates that he will continue to suffer irreparable harm unless and

   until Defendant is required to correct the ADA violations to its online reservation system and

   maintain the online reservation system and accompanying policies in a manner that is consistent

   with and compliant with the requirements of the ADA.

         15.      Pursuant to 42 U.S.C. § 12188(a), this Court is provided with authority to grant

   injunctive relief to Plaintiff, including an Order compelling Defendant to implement policies,

   consistent with the ADA, to accommodate the disabled, by requiring Defendant to alter and

   maintain its online reservation system in accordance with the requirements set forth in

   paragraph 7 above.2

         16.      Plaintiff has retained the undersigned counsel for the filing and prosecution of this

   action and is entitled to recover reasonable attorneys’ fees, costs and expenses from Defendant,

   including litigation expenses and costs pursuant to 42 U.S.C. §12205.

         17.      Mr. Hansen has reviewed this complaint and is aware and knowledgeable of the

   physical barriers to access, dangerous conditions and ADA violations that exist at the facility

   that restrict and/or limit his access to the facility and/or the goods, services, facilities,

   privileges, advantages and/or accommodations offered therein, including those barriers,

   conditions and ADA violations more specifically set forth in this Complaint.

         18.      Mr. Hansen intends to visit the facility in order to utilize all of the goods, services,

   facilities, privileges, advantages, and/or accommodations commonly offered at the facility, but



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   will be unable to do so because of his disability due to the physical barriers to access, dangerous

   conditions and ADA violations that exist at the facility that restrict and/or limit his access to the

   facility and/or accommodations offered therein, including those barriers conditions and ADA

   violations more specifically set forth in this Complaint.

         19.      Defendant has discriminated against Plaintiff and others with disabilities by

   denying access to, and full and equal enjoyment of the goods, services, facilities, privileges,

   advantages and/or accommodations of the facility, as prohibited by 42 U.S.C., § 12182, et. seq.,

   and by failing to remove architectural barriers as required by 42 U.S.C., § 12182(b)(2)(A)(iv),

   and will continue to discriminate against Plaintiff and others with disabilities unless and until

   Defendant is compelled to remove all physical barriers that exist at the facility, including those

   specifically set forth herein, and make the facility accessible to and usable by persons with

   disabilities, including Plaintiff.

         20.      Defendant has discriminated against Mr. Hansen by failing to comply with the

   above requirements. A specific, although not exclusive, list of unlawful physical barriers,

   dangerous conditions and ADA violations which preclude and/or limit Plaintiff’s ability

   (because of his disability) to access the facility and/or full and equal enjoyment of the goods,

   services, facilities, privileges, advantages and/or accommodations of the facility include:

               I.    DESCRIPTIONS AND PHOTOS OF GUEST ROOMS SUPPLIED ON
         HOTEL'S WEBSITE FAIL TO IDENTIFY AND DESCRIBE ACCESSIBLE
         FEATURES IN GUEST ROOMS. DESCRIPTIONS AND PHOTOS OF RESTROOMS
         IN GUEST ROOMS SUPPLIED ON HOTEL'S WEBSITE FAIL TO IDENTIFY AND
         DESCRIBE ACCESSIBLE FEATURES IN RESTROOMS OF GUEST ROOMS.
         DESCRIPTIONS AND PHOTOS OF HOTEL AMENITIES SUPPLIED ON HOTEL'S
         WEBSITE FAIL TO IDENTIFY AND DESCRIBE ACCESSIBLE FEATURES OF
         HOTEL AMENITIES. FAILURE OF HOTEL'S WEBSITE RESERVATION SYSTEM
         TO IDENTIFY AND DESCRIBE THE ACCESSIBLE FEATURES IN
         GUESTROOMS, ITS RESTROOMS, AND HOTEL AMENITIES; LIMITS THE
         ABILITY OF INDIVIDUALS WITH DISABILITIES TO ASSESS INDEPENDENTLY
         WHETHER THE HOTEL, ITS GUEST ROOMS, AND ITS AMENITIES MEETS HIS

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       OR HER ACCESSIBILITY NEEDS. NON-COMPLIANT RESERVATION SYSTEM
       ON HOTEL'S WEBSITE DOES NOT PROVIDE EQUAL ACCESS FOR
       INDIVIDUALS WITH DISABILITIES TO MAKE RESERVATIONS FOR
       ACCESSIBLE GUEST ROOMS AS INDIVIDUALS WHO DO NOT NEED
       ACCESSIBLE GUEST ROOMS. NON-COMPLIANT RESERVATION SYSTEM ON
       HOTEL'S WEBSITE FAILS TO ENSURE ACCESSIBLE GUEST ROOMS ARE
       HELD FOR USE BY INDIVIDUALS WITH DISABILITIES UNTIL ALL OTHER
       GUEST ROOMS OF THAT TYPE HAVE BEEN RENTED AND THE ACCESSIBLE
       ROOM REQUESTED IS THE ONLY REMAINING ROOM OF THAT TYPE. NON-
       COMPLIANT RESERVATION SYSTEM ON HOTEL'S WEBSITE FAILS TO
       PROVIDE INDIVIDUALS WITH DISABILITIES THE OPPORTUNITY TO
       RESERVE ACCESSIBLE GUEST ROOMS AND ENSURE THAT THE GUEST
       ROOMS REQUESTED ARE BLOCKED AND REMOVED FROM ALL
       RESERVATION SYSTEMS. NON-COMPLIANT RESERVATION SYSTEM ON
       HOTEL'S WEBSITE FAILS TO GUARANTEE THAT THE SPECIFIC ACCESSIBLE
       GUEST ROOM RESERVED THROUGH ITS RESERVATIONS SERVICE IS HELD
       FOR THE RESERVING CUSTOMER, REGARDLESS OF WHETHER A SPECIFIC
       ROOM IS HELD IN RESPONSE TO RESERVATIONS MADE BY OTHERS.
               A.       ADA, 28 C.F.R. Sec. 36.302(e)(1) (1) Reservations made by places of
       lodging. A public accommodation that owns, leases (or leases to), or operates a place of
       lodging shall, with respect to reservations made by any means, including by telephone,
       in-person, or through a third party; (i) Modify its policies, practices, or procedures to
       ensure that individuals with disabilities can make reservations for accessible guest rooms
       during the same hours and in the same manner as individuals who do not need accessible
       rooms; (ii) Identify and describe accessible features in the hotels and guest rooms offered
       through its reservations service in enough detail to reasonably permit individuals with
       disabilities to assess independently whether a given hotel or guest room meets his or her
       accessibility needs; (iii) Ensure that accessible guest rooms are held for use by
       individuals with disabilities until all other guest rooms of that type have been rented and
       the accessible room requested is the only remaining room of that type; (iv) Reserve, upon
       request, accessible guest rooms or specific types of guest rooms and ensure that the guest
       rooms requested are blocked and removed from all reservations systems; and (v)
       Guarantee that the specific accessible guest room reserved through its reservations
       service is held for the reserving customer, regardless of whether a specific room is held in
       response to reservations made by others.
               II.      INACCESSIBLE LIVING AREA IN OCEAN FRONT DOUBLE
  GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE
  RESERVATION SYSTEM. REQUIRED MINIMUM CLEAR WIDTH NOT PROVIDED AT
  TRAVEL PATH WITHIN LIVING AREA OF OCEAN FRONT DOUBLE GUEST ROOM AS
  DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                        a. ADAAG 806 Transient Lodging Guest Rooms ADAAG 806.2.1
                            Living and Dining Areas. Living and dining areas shall be accessible.
                            ADAAG 403 Walking Surfaces ADAAG 403.1 General. Walking
                            surfaces that are a part of an accessible route shall comply with 403.
                            ADAAG 403.5.1 Clear Width. Except as provided in 403.5.2 and



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                         403.5.3, the clear width of walking surfaces shall be 36 inches (915
                         mm) minimum.
             III.     REQUIRED MINIMUM TURNING SPACE NOT PROVIDED IN
       LIVING AREA OF OCEAN FRONT DOUBLE GUEST ROOM.
                      a. ADAAG 806 Transient Lodging Guest Rooms ADAAG 806.1
                         General. Transient lodging guest rooms shall comply with 806. Guest
                         rooms required to provide mobility features shall comply with 806.2.
                         Guest rooms required to provide communication features shall comply
                         with 806.3. ADAAG 806.2 Guest Rooms with Mobility Features.
                         Guest rooms required to provide mobility features shall comply with
                         806.2. ADAAG 806.2.6 Turning Space. Turning space complying
                         with 304 shall be provided within the guest room. ADAAG 603.2.1
                         Turning Space. Turning space complying with 304 shall be provided
                         within the room. ADAAG 304.3.1 Circular Space. The turning space
                         shall be a space of 60 inches (1525 mm) diameter minimum. The
                         space shall be permitted to include knee and toe clearance complying
                         with 306 ADAAG 304.3.2 T-Shaped Space. The turning space shall
                         be a T-shaped space within a 60 inch (1525 mm) square minimum
                         with arms and base 36 inches (915 mm) wide minimum. Each arm of
                         the T shall be clear of obstructions 12 inches (305 mm) minimum in
                         each direction and the base shall be clear of obstructions 24 inches
                         (610 mm) minimum. The space shall be permitted to include knee and
                         toe clearance complying with 306 only at the end of either the base or
                         one arm.
             IV.      INACCESSIBLE WINDOWS IN OCEAN FRONT DOUBLE GUEST
  ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM. INACCESSIBLE WINDOW LOCKS OF WINDOWS IN OCEAN FRONT
  DOUBLE GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S
  WEBSITE RESERVATION SYSTEM. NON-COMPLIANT HEIGHT OF WINDOW LOCKS
  OF WINDOWS IN OCEAN FRONT DOUBLE GUEST ROOM EXCEEDS MAXIMUM
  HEIGHT ALLOWANCE.
                      a.     ADAAG 229 Windows ADAAG 229.1 General. Where glazed
             openings are provided in accessible rooms or spaces for operation by occupants,
             at least one opening shall comply with 309. Each glazed opening required by an
             administrative authority to be operable shall comply with 309. ADAAG 309
             Operable Parts ADAAG 309.1 General. Operable parts shall comply with 309.
             ADAAG 309.3 Height. Operable parts shall be placed within one or more of the
             reach ranges specified in 308. ADAAG 308.2 Forward Reach. ADAAG 308.2.1
             Unobstructed. Where a forward reach is unobstructed, the high forward reach
             shall be 48 inches (1220 mm) maximum and the low forward reach shall be 15
             inches (380 mm) minimum above the finish floor or ground. ADAAG 308.2.2
             Obstructed High Reach. Where a high forward reach is over an obstruction, the
             clear floor space shall extend beneath the element for a distance not less than the
             required reach depth over the obstruction. The high forward reach shall be 48
             inches (1220 mm) maximum where the reach depth is 20 inches (510 mm)
             maximum. Where the reach depth exceeds 20 inches (510 mm), the high forward

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            reach shall be 44 inches (1120 mm) maximum and the reach depth shall be 25
            inches (635 mm) maximum. ADAAG 308.3 Side Reach. ADAAG 308.3.1
            Unobstructed. Where a clear floor or ground space allows a parallel approach to
            an element and the side reach is unobstructed, the high side reach shall be 48
            inches (1220 mm) maximum and the low side reach shall be 15 inches (380 mm)
            minimum above the finish floor or ground. ADAAG 308.3.2 Obstructed High
            Reach. Where a clear floor or ground space allows a parallel approach to an
            element and the high side reach is over an obstruction, the height of the
            obstruction shall be 34 inches (865 mm) maximum and the depth of the
            obstruction shall be 24 inches (610 mm) maximum. The high side reach shall be
            48 inches (1220 mm) maximum for a reach depth of 10 inches (255 mm)
            maximum. Where the reach depth exceeds 10 inches (255 mm), the high side
            reach shall be 46 inches (1170 mm) maximum for a reach depth of 24 inches (610
            mm) maximum.
            V.      NON-COMPLIANT DOOR LOCKS OF WINDOWS AT OCEAN
  FRONT DOUBLE GUEST ROOM, AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S
  WEBSITE RESERVATION SYSTEM, REQUIRE TWISTING OF THE WRIST.
            a. ADAAG 229 Windows ADAAG 229.1 General. Where glazed openings are
                provided in accessible rooms or spaces for operation by occupants, at least
                one opening shall comply with 309. Each glazed opening required by an
                administrative authority to be operable shall comply with 309. ADAAG 309
                Operable Parts ADAAG 309.1 General. Operable parts shall comply with
                309. ADAAG 309.4 Operation. Operable parts shall be operable with one
                hand and shall not require tight grasping, pinching, or twisting of the wrist.
                The force required to activate operable parts shall be 5 pounds (22.2 N)
                maximum.
            VI.     INACCESSIBLE TELEVISION IN OCEAN FRONT DOUBLE GUEST
  ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM. NON-COMPLIANT MOUNTED HEIGHT OF TELEVISION AND ITS
  OPERABLE PARTS IN OCEAN FRONT DOUBLE GUEST ROOM EXCEEDS MAXIMUM
  HEIGHT ALLOWANCE.
                    a. ADAAG 309 Operable Parts ADAAG 309.1 General. Operable parts
                        shall comply with 309. ADAAG 309.3 Height. Operable parts shall be
                        placed within one or more of the reach ranges specified in 308.
                        ADAAG 308.2 Forward Reach. ADAAG 308.2.1 Unobstructed.
                        Where a forward reach is unobstructed, the high forward reach shall be
                        48 inches (1220 mm) maximum and the low forward reach shall be 15
                        inches (380 mm) minimum above the finish floor or ground. ADAAG
                        308.2.2 Obstructed High Reach. Where a high forward reach is over
                        an obstruction, the clear floor space shall extend beneath the element
                        for a distance not less than the required reach depth over the
                        obstruction. The high forward reach shall be 48 inches (1220 mm)
                        maximum where the reach depth is 20 inches (510 mm) maximum.
                        Where the reach depth exceeds 20 inches (510 mm), the high forward
                        reach shall be 44 inches (1120 mm) maximum and the reach depth
                        shall be 25 inches (635 mm) maximum. ADAAG 308.3 Side Reach.

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                      ADAAG 308.3.1 Unobstructed. Where a clear floor or ground space
                      allows a parallel approach to an element and the side reach is
                      unobstructed, the high side reach shall be 48 inches (1220 mm)
                      maximum and the low side reach shall be 15 inches (380 mm)
                      minimum above the finish floor or ground. ADAAG 308.3.2
                      Obstructed High Reach. Where a clear floor or ground space allows a
                      parallel approach to an element and the high side reach is over an
                      obstruction, the height of the obstruction shall be 34 inches (865 mm)
                      maximum and the depth of the obstruction shall be 24 inches (610
                      mm) maximum. The high side reach shall be 48 inches (1220 mm)
                      maximum for a reach depth of 10 inches (255 mm) maximum. Where
                      the reach depth exceeds 10 inches (255 mm), the high side reach shall
                      be 46 inches (1170 mm) maximum for a reach depth of 24 inches (610
                      mm) maximum.
             VII. NON-COMPLIANT SHOWER SPRAY UNIT IN SHOWER
  COMPARTMENT IN RESTROOM OF OCEAN FRONT DOUBLE GUEST ROOM AS
  DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
  REQUIRED SHOWER SPRAY UNIT WITH HOSE NOT PROVIDED IN SHOWER
  COMPARTMENT IN RESTROOM OF OCEAN FRONT DOUBLE GUEST ROOM AS
  DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                   a. ADAAG 608 Shower Compartments ADAAG 608.1 General. Shower
                      compartments shall comply with 608. ADAAG 608.6 Shower Spray
                      Unit and Water. A shower spray unit with a hose 59 inches (1500
                      mm) long minimum that can be used both as a fixed-position shower
                      head and as a hand-held shower shall be provided. The shower spray
                      unit shall have an on/off control with a non-positive shut-off. If an
                      adjustable-height shower head on a vertical bar is used, the bar shall be
                      installed so as not to obstruct the use of grab bars. Shower spray units
                      shall deliver water that is 120°F (49°C) maximum.
             VIII. INACCESSIBLE SHOWER FIXTURE IN SHOWER COMPARTMENT
  OF OCEAN FRONT DOUBLE GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON
  HOTEL'S WEBSITE RESERVATION SYSTEM.. NON-COMPLIANT HEIGHT OF
  SHOWER FIXTURE IN SHOWER COMPARTMENT OF OCEAN FRONT DOUBLE GUEST
  ROOM EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
                   a. ADAAG 608.5.1 Transfer Type Shower Compartments. In transfer
                      type shower compartments, the controls, faucets, and shower spray
                      unit shall be installed on the side wall opposite the seat 38 inches (965
                      mm) minimum and 48 inches (1220 mm) maximum above the shower
                      floor and shall be located on the control wall 15 inches (380 mm)
                      maximum from the centerline of the seat toward the shower opening.
                      ADAAG 608.5.2 Standard Roll-In Type Shower Compartments. In
                      standard roll-in type shower compartments, the controls, faucets, and
                      shower spray unit shall be located above the grab bar, but no higher
                      than 48 inches (1220 mm) above the shower floor. Where a seat is
                      provided, the controls, faucets, and shower spray unit shall be installed



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                     on the back wall adjacent to the seat wall and shall be located 27
                     inches (685 mm) maximum from the seat wall.
             IX.  INACCESSIBLE LAVATORY IN RESTROOM OF OCEAN FRONT
  DOUBLE GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S
  WEBSITE RESERVATION SYSTEM. REQUIRED MINIMUM CLEAR FLOOR SPACE
  NOT PROVIDED AT LAVATORY IN RESTROOM OF OCEAN FRONT DOUBLE GUEST
  ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM.
                  a. ADAAG 606 Lavatories and Sinks ADAAG 606.2 Clear Floor Space.
                     A clear floor space complying with 305, positioned for a forward
                     approach, and knee and toe clearance complying with 306 shall be
                     provided. ADAAG 305.3 Size. The clear floor or ground space shall
                     be 30 inches (760 mm) minimum by 48 inches (1220 mm) minimum.
             X.   REQUIRED MINIMUM KNEE AND TOE CLEARANCE NOT
  PROVIDED AT LAVATORY IN RESTROOM OF OCEAN FRONT DOUBLE GUEST
  ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM.
                  a. ADAAG 606 Lavatories and Sinks ADAAG 606.2 Clear Floor Space.
                     A clear floor space complying with 305, positioned for a forward
                     approach, and knee and toe clearance complying with 306 shall be
                     provided. ADAAG 306.2 Toe Clearance. ADAAG 306.2.3 Minimum
                     Required Depth. Where toe clearance is required at an element as part
                     of a clear floor space, the toe clearance shall extend 17 inches (430
                     mm) minimum under the element. ADAAG 306.2.5 Width. Toe
                     clearance shall be 30 inches (760 mm) wide minimum. ADAAG
                     306.3 Knee Clearance. ADAAG 306.3.3 Minimum Required Depth.
                     Where knee clearance is required under an element as part of a clear
                     floor space, the knee clearance shall be 11 inches deep minimum at 9
                     inches above the ground, and 8 inches deep minimum at 27 inches
                     (685 mm) above the finish floor or ground. ADAAG 306.3.5 Width.
                     Knee clearance shall be 30 inches (760 mm) wide minimum.
             XI.  INACCESSIBLE MIRROR LOCATED ABOVE LAVATORY IN
  RESTROOM OF OCEAN FRONT DOUBLE GUEST ROOM AS DISPLAYED IN PHOTOS
  SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM. NON COMPLIANT
  HEIGHT OF MIRROR IN RESTROOM OF OCEAN FRONT DOUBLE GUEST ROOM
  EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
                  a. ADAAG 603.3 Mirrors. Mirrors located above lavatories or
                     countertops shall be installed with the bottom edge of the reflecting
                     surface 40 inches (1015 mm) maximum above the finish floor or
                     ground. Mirrors not located above lavatories or countertops shall be
                     installed with the bottom edge of the reflecting surface 35 inches (890
                     mm) maximum above the finish floor or ground.
             XII. INACCESSIBLE WATER CLOSET IN RESTROOM OF OCEAN
  FRONT DOUBLE GUEST ROOM AS DISPLAYED IN PHOTOS ON HOTEL'S WEBSITE
  RESERVATION SYSTEM. REQUIRED MINIMUM CLEARANCE NOT PROVIDED AT



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  WATER CLOSET IN RESTROOM OF OCEAN FRONT DOUBLE GUEST ROOM AS
  DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                   a. ADAAG 604 Water Closets and Toilet Compartments ADAAG 604.3
                      Clearance. Clearances around water closets and in toilet
                      compartments shall comply with 604.3. ADAAG 604.3.1 Size.
                      Clearance around a water closet shall be 60 inches (1525 mm)
                      minimum measured perpendicular from the side wall and 56 inches
                      (1420 mm) minimum measured perpendicular from the rear wall.
             XIII. REQUIRED GRAB BARS NOT PROVIDED ON REAR AND SIDE
  WALLS OF WATER CLOSET IN RESTROOM OF OCEAN FRONT DOUBLE GUEST
  ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM.
                   a. ADAAG 604.5 Grab Bars. Grab bars for water closets shall comply
                      with 609. Grab bars shall be provided on the side wall closest to the
                      water closet and on the rear wall.
             XIV. INACCESSIBLE SAFE LOCATED IN CLOSET OF OCEAN FRONT
  DOUBLE GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S
  WEBSITE RESERVATION SYSTEM. NON-COMPLIANT HEIGHT OF SAFE STORED ON
  SHELF IN CLOSET OF OCEAN FRONT DOUBLE GUEST ROOM EXCEEDS MAXIMUM
  HEIGHT ALLOWANCE.
                   a. ADAAG 806 Transient Lodging Guest Rooms ADAAG 806.1
                      General. Transient lodging guest rooms shall comply with 806. Guest
                      rooms required to provide mobility features shall comply with 806.2.
                      Guest rooms required to provide communication features shall comply
                      with 806.3. ADAAG 806.2 Guest Rooms with Mobility Features.
                      Guest rooms required to provide mobility features shall comply with
                      806.2. ADAAG Advisory 806.2 Guest Rooms. The requirements in
                      Section 806.2 do not include requirements that are common to all
                      accessible spaces. For example, closets in guest rooms must comply
                      with the applicable provisions for storage specified in scoping.
                      ADAAG 225 Storage ADAAG Advisory 225.2 Storage. Types of
                      storage include, but are not limited to, closets, cabinets, shelves,
                      clothes rods, hooks, and drawers. Where provided, at least one of each
                      type of storage must be within the reach ranges specified in 308;
                      however, it is permissible to install additional storage outside the reach
                      ranges. ADAAG 811 Storage ADAAG 811.3 Height. Storage
                      elements shall comply with at least one of the reach ranges specified in
                      308. DAAG 308.2 Forward Reach. ADAAG 308.2.1 Unobstructed.
                      Where a forward reach is unobstructed, the high forward reach shall be
                      48 inches maximum and the low forward reach shall be 15 inches
                      minimum above the finish floor or ground. ADAAG 308.2.2
                      Obstructed High Reach. Where a high forward reach is over an
                      obstruction, the clear floor space shall extend beneath the element for a
                      distance not less than the required reach depth over the obstruction.
                      The high forward reach shall be 48 inches maximum where the reach
                      depth is 20 inches maximum. Where the reach depth exceeds 20

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                     inches, the high forward reach shall be 44 inches maximum and the
                     reach depth shall be 25 inches maximum. ADAAG 308.3 Side Reach.
                     ADAAG 308.3.1 Unobstructed. Where a clear floor or ground space
                     allows a parallel approach to an element and the side reach is
                     unobstructed, the high side reach shall be 48 inches maximum and the
                     low side reach shall be 15 inches minimum above the finish floor or
                     ground. ADAAG 308.3.2 Obstructed High Reach. Where a clear floor
                     or ground space allows a parallel approach to an element and the high
                     side reach is over an obstruction, the height of the obstruction shall be
                     34 inches maximum and the depth of the obstruction shall be 24 inches
                     maximum. The high side reach shall be 48 inches maximum for a
                     reach depth of 10 inches maximum. Where the reach depth exceeds
                     10 inches, the high side reach shall be 46 inches maximum for a reach
                     depth of 24 inches maximum.
            XV. INACCESSIBLE TELEVISION IN OCEAN FRONT KING GUEST
  ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM. NON-COMPLIANT MOUNTED HEIGHT OF TELEVISION AND ITS
  OPERABLE PARTS IN OCEAN FRONT KING GUEST ROOM EXCEEDS MAXIMUM
  HEIGHT ALLOWANCE.
                  a. ADAAG 309 Operable Parts ADAAG 309.1 General. Operable parts
                     shall comply with 309. ADAAG 309.3 Height. Operable parts shall be
                     placed within one or more of the reach ranges specified in 308.
                     ADAAG 308.2 Forward Reach. ADAAG 308.2.1 Unobstructed.
                     Where a forward reach is unobstructed, the high forward reach shall be
                     48 inches (1220 mm) maximum and the low forward reach shall be 15
                     inches (380 mm) minimum above the finish floor or ground. ADAAG
                     308.2.2 Obstructed High Reach. Where a high forward reach is over
                     an obstruction, the clear floor space shall extend beneath the element
                     for a distance not less than the required reach depth over the
                     obstruction. The high forward reach shall be 48 inches (1220 mm)
                     maximum where the reach depth is 20 inches (510 mm) maximum.
                     Where the reach depth exceeds 20 inches (510 mm), the high forward
                     reach shall be 44 inches (1120 mm) maximum and the reach depth
                     shall be 25 inches (635 mm) maximum. ADAAG 308.3 Side Reach.
                     ADAAG 308.3.1 Unobstructed. Where a clear floor or ground space
                     allows a parallel approach to an element and the side reach is
                     unobstructed, the high side reach shall be 48 inches (1220 mm)
                     maximum and the low side reach shall be 15 inches (380 mm)
                     minimum above the finish floor or ground. ADAAG 308.3.2
                     Obstructed High Reach. Where a clear floor or ground space allows a
                     parallel approach to an element and the high side reach is over an
                     obstruction, the height of the obstruction shall be 34 inches (865 mm)
                     maximum and the depth of the obstruction shall be 24 inches (610
                     mm) maximum. The high side reach shall be 48 inches (1220 mm)
                     maximum for a reach depth of 10 inches (255 mm) maximum. Where
                     the reach depth exceeds 10 inches (255 mm), the high side reach shall

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                       be 46 inches (1170 mm) maximum for a reach depth of 24 inches (610
                       mm) maximum.
             XVI. NON-COMPLIANT SHOWER SPRAY UNIT IN SHOWER
       COMPARTMENT IN RESTROOM OF OCEAN FRONT KING GUEST ROOM AS
       DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
       SYSTEM. REQUIRED SHOWER SPRAY UNIT WITH HOSE NOT PROVIDED IN
       SHOWER COMPARTMENT IN RESTROOM OF OCEAN FRONT KING GUEST
       ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE
       RESERVATION SYSTEM.
                           a. ADAAG 608 Shower Compartments ADAAG 608.1 General.
                               Shower compartments shall comply with 608. ADAAG 608.6
                               Shower Spray Unit and Water. A shower spray unit with a
                               hose 59 inches (1500 mm) long minimum that can be used both
                               as a fixed-position shower head and as a hand-held shower
                               shall be provided. The shower spray unit shall have an on/off
                               control with a non-positive shut-off. If an adjustable-height
                               shower head on a vertical bar is used, the bar shall be installed
                               so as not to obstruct the use of grab bars. Shower spray units
                               shall deliver water that is 120°F (49°C) maximum.
             XVII. INACCESSIBLE SHOWER FIXTURE IN SHOWER COMPARTMENT
  OF OCEAN FRONT KING GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON
  HOTEL'S WEBSITE RESERVATION SYSTEM. NON-COMPLIANT HEIGHT OF SHOWER
  FIXTURE IN SHOWER COMPARTMENT OF OCEAN FRONT KING GUEST ROOM
  EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
                           a. ADAAG 608.5.1 Transfer Type Shower Compartments. In
                               transfer type shower compartments, the controls, faucets, and
                               shower spray unit shall be installed on the side wall opposite
                               the seat 38 inches (965 mm) minimum and 48 inches (1220
                               mm) maximum above the shower floor and shall be located on
                               the control wall 15 inches (380 mm) maximum from the
                               centerline of the seat toward the shower opening. ADAAG
                               608.5.2 Standard Roll-In Type Shower Compartments. In
                               standard roll-in type shower compartments, the controls,
                               faucets, and shower spray unit shall be located above the grab
                               bar, but no higher than 48 inches (1220 mm) above the shower
                               floor. Where a seat is provided, the controls, faucets, and
                               shower spray unit shall be installed on the back wall adjacent
                               to the seat wall and shall be located 27 inches (685 mm)
                               maximum from the seat wall.
             XVIII. INACCESSIBLE MIRROR LOCATED ABOVE LAVATORY IN
             RESTROOM OF OCEAN FRONT KING GUEST ROOM AS DISPLAYED IN
  PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM. NON
  COMPLIANT HEIGHT OF MIRROR IN RESTROOM OF OCEAN FRONT KING GUEST
  ROOM EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
                           a. ADAAG 603.3 Mirrors. Mirrors located above lavatories or
                               countertops shall be installed with the bottom edge of the

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                          reflecting surface 40 inches (1015 mm) maximum above the
                          finish floor or ground. Mirrors not located above lavatories or
                          countertops shall be installed with the bottom edge of the
                          reflecting surface 35 inches (890 mm) maximum above the
                          finish floor or ground.
             XIX. INACCESSIBLE SAFE LOCATED IN CLOSET OF OCEAN FRONT
  KING GUEST ROOM AS DISPLAYED IN PHOTOS ON HOTEL'S WEBSITE
  RESERVATION SYSTEM. NON-COMPLIANT HEIGHT OF SAFE STORED ON SHELF IN
  CLOSET OF OCEAN FRONT KING GUEST ROOM EXCEEDS MAXIMUM HEIGHT
  ALLOWANCE.
                       a. ADAAG 806 Transient Lodging Guest Rooms ADAAG 806.1
                          General. Transient lodging guest rooms shall comply with
                          806. Guest rooms required to provide mobility features shall
                          comply with 806.2. Guest rooms required to provide
                          communication features shall comply with 806.3. ADAAG
                          806.2 Guest Rooms with Mobility Features. Guest rooms
                          required to provide mobility features shall comply with 806.2.
                          ADAAG Advisory 806.2 Guest Rooms. The requirements in
                          Section 806.2 do not include requirements that are common to
                          all accessible spaces. For example, closets in guest rooms must
                          comply with the applicable provisions for storage specified in
                          scoping. ADAAG 225 Storage ADAAG Advisory 225.2
                          Storage. Types of storage include, but are not limited to,
                          closets, cabinets, shelves, clothes rods, hooks, and drawers.
                          Where provided, at least one of each type of storage must be
                          within the reach ranges specified in 308; however, it is
                          permissible to install additional storage outside the reach
                          ranges. ADAAG 811 Storage ADAAG 811.3 Height. Storage
                          elements shall comply with at least one of the reach ranges
                          specified in 308. DAAG 308.2 Forward Reach. ADAAG
                          308.2.1 Unobstructed. Where a forward reach is unobstructed,
                          the high forward reach shall be 48 inches maximum and the
                          low forward reach shall be 15 inches minimum above the finish
                          floor or ground. ADAAG 308.2.2 Obstructed High Reach.
                          Where a high forward reach is over an obstruction, the clear
                          floor space shall extend beneath the element for a distance not
                          less than the required reach depth over the obstruction. The
                          high forward reach shall be 48 inches maximum where the
                          reach depth is 20 inches maximum. Where the reach depth
                          exceeds 20 inches, the high forward reach shall be 44 inches
                          maximum and the reach depth shall be 25 inches maximum.
                          ADAAG 308.3 Side Reach. ADAAG 308.3.1 Unobstructed.
                          Where a clear floor or ground space allows a parallel approach
                          to an element and the side reach is unobstructed, the high side
                          reach shall be 48 inches maximum and the low side reach shall
                          be 15 inches minimum above the finish floor or ground.

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                             ADAAG 308.3.2 Obstructed High Reach. Where a clear floor
                             or ground space allows a parallel approach to an element and
                             the high side reach is over an obstruction, the height of the
                             obstruction shall be 34 inches maximum and the depth of the
                             obstruction shall be 24 inches maximum. The high side reach
                             shall be 48 inches maximum for a reach depth of 10 inches
                             maximum. Where the reach depth exceeds 10 inches, the high
                             side reach shall be 46 inches maximum for a reach depth of 24
                             inches maximum.
              XX. INACCESSIBLE RESTROOM IN PARTIAL OCEAN VIEW DOUBLE
              GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S
              WEBSITE RESERVATION SYSTEM. REQUIRED MINIMUM TURNING
              SPACE NOT PROVIDED IN RESTROOM OF PARTIAL OCEAN VIEW
              DOUBLE GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON
              HOTEL'S WEBSITE RESERVATION SYSTEM.
                            a. ADAAG 806.2.4 Toilet and Bathing Facilities. At least one
                                bathroom that is provided as part of a guest room shall
                                comply with 603. No fewer than one water closet, one
                                lavatory, and one bathtub or shower shall comply with
                                applicable requirements of 603 through 610. In addition,
                                required roll-in shower compartments shall comply with
                                608.2.2 or 608.2.3. Toilet and bathing fixtures required to
                                comply with 603 through 610 shall be permitted to be
                                located in more than one toilet or bathing area, provided that
                                travel between fixtures does not require travel between other
                                parts of the guest room. ADAAG 603 Toilet and Bathing
                                Rooms ADAAG 603.1 General. Toilet and bathing rooms
                                shall comply with 603. ADAAG 603.2 Clearances.
                                Clearances shall comply with 603.2. ADAAG 603.2.1
                                Turning Space. Turning space complying with 304 shall be
                                provided within the room. ADAAG 304.3.1 Circular Space.
                                The turning space shall be a space of 60 inches (1525 mm)
                                diameter minimum. The space shall be permitted to include
                                knee and toe clearance complying with 306.
              XXI. INACCESSIBLE SHOWER COMPARTMENT IN RESTROOM OF
              PARTIAL OCEAN VIEW DOUBLE GUEST ROOM AS DISPLAYED IN
              PHOTOS ON HOTEL'S WEBSITE RESERVATION SYSTEM. REQUIRED
              MINIMUM CLEARANCE NOT PROVIDED ADJACENT TO SHOWER
              COMPARTMENT IN RESTROOM OF PARTIAL OCEAN VIEW DOUBLE
              GUEST ROOM AS DISPLAYED IN PHOTOS ON HOTEL'S WEBSITE
              RESERVATION SYSTEM.
                         a. ADAAG 608 Shower Compartments ADAAG 608.1 General.
                             Shower compartments shall comply with 608. ADAAG 608.2
                             Size and Clearances for Shower Compartments. Shower
                             compartments shall have sizes and clearances complying with
                             608.2. ADAAG 608.2.2.1 Clearance. A 30 inch (760 mm)

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                              wide minimum by 60 inch (1525 mm) long minimum clearance
                              shall be provided adjacent to the open face of the shower
                              compartment.
            XXII. REQUIRED SEAT NOT PROVIDED IN SHOWER COMPARTMENT
  IN RESTROOM OF PARTIAL OCEAN VIEW DOUBLE GUEST ROOM AS DISPLAYED IN
  PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                         a. ADAAG 608.4 Seats. A folding or non-folding seat shall be
                              provided in transfer type shower compartments. A folding seat
                              shall be provided in roll-in type showers required in transient
                              lodging guest rooms with mobility features complying with
                              806.2. Seats shall comply with 610.
            XXIII. REQUIRED GRAB BARS NOT PROVIDED IN SHOWER
  COMPARTMENT IN RESTROOM OF PARTIAL OCEAN VIEW DOUBLE GUEST ROOM
  AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM.
                         a. ADAAG 608.3 Grab Bars. Grab bars shall comply with 609
                              and shall be provided in accordance with 608.3. Where
                              multiple grab bars are used, required horizontal grab bars shall
                              be installed at the same height above the finish floor. ADAAG
                              608.3.1 Transfer Type Shower Compartments. In transfer type
                              compartments, grab bars shall be provided across the control
                              wall and back wall to a point 18 inches (455 mm) from the
                              control wall. ADAAG 608.3.2 Standard Roll-In Type
                              Shower Compartments. Where a seat is provided in standard
                              rollin type shower compartments, grab bars shall be provided
                              on the back wall and the side wall opposite the seat. Grab bars
                              shall not be provided above the seat. Where a seat is not
                              provided in standard roll-in type shower compartments, grab
                              bars shall be provided on three walls. Grab bars shall be
                              installed 6 inches (150 mm) maximum from adjacent walls.
                              ADAAG 608.3.3 Alternate Roll-In Type Shower
                              Compartments. In alternate roll-in type shower compartments,
                              grab bars shall be provided on the back wall and the side wall
                              farthest from the compartment entry. Grab bars shall not be
                              provided above the seat. Grab bars shall be installed 6 inches
                              (150 mm) maximum from adjacent walls.
            XXIV. INACCESSIBLE RECESSED WALL SHELF IN SHOWER
  COMPARTMENT IN RESTROOM OF PARTIAL OCEAN VIEW DOUBLE GUEST ROOM
  AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM. NON-COMPLIANT HEIGHT OF RECESSED WALL SHELF IN SHOWER
  COMPARTMENT IN RESTROOM OF PARTIAL OCEAN VIEW DOUBLE GUEST ROOM
  EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
                   a. ADAAG 603 Toilet and Bathing Rooms ADAAG 603.1 General.
                      Toilet and bathing rooms shall comply with 603. ADAAG 603.4 Coat
                      Hooks and Shelves. Coat hooks shall be located within one of the



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                     reach ranges specified in 308. Shelves shall be located 40 inches
                     minimum and 48 inches maximum above the finish floor.
            XXV. INACCESSIBLE WATER CLOSET IN RESTROOM AT PARTIAL
  OCEAN VIEW DOUBLE ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S
  WEBSITE RESERVATION SYSTEM. REQUIRED MINIMUM CLEARANCE NOT
  PROVIDED AT WATER CLOSET IN RESTROOM AT PARTIAL OCEAN VIEW DOUBLE
  ROOM.
                  a. ADAAG 604 Water Closets and Toilet Compartments ADAAG 604.3
                     Clearance. Clearances around water closets and in toilet
                     compartments shall comply with 604.3. ADAAG 604.3.1 Size.
                     Clearance around a water closet shall be 60 inches (1525 mm)
                     minimum measured perpendicular from the side wall and 56 inches
                     (1420 mm) minimum measured perpendicular from the rear wall.
            XXVI. REQUIRED GRAB BARS NOT PROVIDED ON REAR AND SIDE
  WALLS OF WATER CLOSET IN RESTROOM OF PARTIAL OCEAN VIEW DOUBLE
  ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM.
                  a. ADAAG 604.5 Grab Bars. Grab bars for water closets shall comply
                     with 609. Grab bars shall be provided on the side wall closest to the
                     water closet and on the rear wall.
            XXVII.       INACCESSIBLE SAFE LOCATED IN CLOSET OF PARTIAL
  OCEAN VIEW DOUBLE GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON
  HOTEL'S WEBSITE RESERVATION SYSTEM. NON-COMPLIANT HEIGHT OF SAFE
  STORED ON SHELF IN CLOSET OF PARTIAL OCEAN VIEW DOUBLE GUEST ROOM
  EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
                  a. ADAAG 806 Transient Lodging Guest Rooms ADAAG 806.1
                     General. Transient lodging guest rooms shall comply with 806. Guest
                     rooms required to provide mobility features shall comply with 806.2.
                     Guest rooms required to provide communication features shall comply
                     with 806.3. ADAAG 806.2 Guest Rooms with Mobility Features.
                     Guest rooms required to provide mobility features shall comply with
                     806.2. ADAAG Advisory 806.2 Guest Rooms. The requirements in
                     Section 806.2 do not include requirements that are common to all
                     accessible spaces. For example, closets in guest rooms must comply
                     with the applicable provisions for storage specified in scoping.
                     ADAAG 225 Storage ADAAG Advisory 225.2 Storage. Types of
                     storage include, but are not limited to, closets, cabinets, shelves,
                     clothes rods, hooks, and drawers. Where provided, at least one of each
                     type of storage must be within the reach ranges specified in 308;
                     however, it is permissible to install additional storage outside the reach
                     ranges. ADAAG 811 Storage ADAAG 811.3 Height. Storage
                     elements shall comply with at least one of the reach ranges specified in
                     308. DAAG 308.2 Forward Reach. ADAAG 308.2.1 Unobstructed.
                     Where a forward reach is unobstructed, the high forward reach shall be
                     48 inches maximum and the low forward reach shall be 15 inches
                     minimum above the finish floor or ground. ADAAG 308.2.2

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                      Obstructed High Reach. Where a high forward reach is over an
                      obstruction, the clear floor space shall extend beneath the element for a
                      distance not less than the required reach depth over the obstruction.
                      The high forward reach shall be 48 inches maximum where the reach
                      depth is 20 inches maximum. Where the reach depth exceeds 20
                      inches, the high forward reach shall be 44 inches maximum and the
                      reach depth shall be 25 inches maximum. ADAAG 308.3 Side Reach.
                      ADAAG 308.3.1 Unobstructed. Where a clear floor or ground space
                      allows a parallel approach to an element and the side reach is
                      unobstructed, the high side reach shall be 48 inches maximum and the
                      low side reach shall be 15 inches minimum above the finish floor or
                      ground. ADAAG 308.3.2 Obstructed High Reach. Where a clear floor
                      or ground space allows a parallel approach to an element and the high
                      side reach is over an obstruction, the height of the obstruction shall be
                      34 inches maximum and the depth of the obstruction shall be 24 inches
                      maximum. The high side reach shall be 48 inches maximum for a
                      reach depth of 10 inches maximum. Where the reach depth exceeds
                      10 inches, the high side reach shall be 46 inches maximum for a reach
                      depth of 24 inches maximum.
             XXVIII.      INACCESSIBLE RESTROOM IN PARTIAL OCEAN VIEW
  QUEEN GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE
  RESERVATION SYSTEM. REQUIRED MINIMUM TURNING SPACE NOT PROVIDED IN
  RESTROOM OF PARTIAL OCEAN VIEW QUEEN GUEST ROOM AS DISPLAYED IN
  PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                          a. ADAAG 806.2.4 Toilet and Bathing Facilities. At least one
                              bathroom that is provided as part of a guest room shall comply
                              with 603. No fewer than one water closet, one lavatory, and
                              one bathtub or shower shall comply with applicable
                              requirements of 603 through 610. In addition, required roll-in
                              shower compartments shall comply with 608.2.2 or 608.2.3.
                              Toilet and bathing fixtures required to comply with 603
                              through 610 shall be permitted to be located in more than one
                              toilet or bathing area, provided that travel between fixtures
                              does not require travel between other parts of the guest room.
                              ADAAG 603 Toilet and Bathing Rooms ADAAG 603.1
                              General. Toilet and bathing rooms shall comply with 603.
                              ADAAG 603.2 Clearances. Clearances shall comply with
                              603.2. ADAAG 603.2.1 Turning Space. Turning space
                              complying with 304 shall be provided within the room.
                              ADAAG 304.3.1 Circular Space. The turning space shall be a
                              space of 60 inches (1525 mm) diameter minimum. The space
                              shall be permitted to include knee and toe clearance complying
                              with 306.
             XXIV. INACCESSIBLE SHOWER COMPARTMENT IN RESTROOM OF
  PARTIAL OCEAN VIEW QUEEN GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED
  ON HOTEL'S WEBSITE RESERVATION SYSTEM. REQUIRED MINIMUM CLEARANCE

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  NOT PROVIDED ADJACENT TO SHOWER COMPARTMENT IN RESTROOM OF
  PARTIAL OCEAN VIEW QUEEN GUEST ROOM AS DISPLAYED IN PHOTOS SUPPLIED
  ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                        a. ADAAG 608.2.2.1 Clearance. A 30 inch (760 mm) wide
                           minimum by 60 inch (1525 mm) long minimum clearance shall
                           be provided adjacent to the open face of the shower
                           compartment.
             XXV. REQUIRED SEAT NOT PROVIDED IN SHOWER COMPARTMENT
  IN RESTROOM OF PARTIAL OCEAN VIEW QUEEN GUEST ROOM AS DISPLAYED IN
  PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                        a. ADAAG 608.4 Seats. A folding or non-folding seat shall be
                           provided in transfer type shower compartments. A folding seat
                           shall be provided in roll-in type showers required in transient
                           lodging guest rooms with mobility features complying with
                           806.2. Seats shall comply with 610.
             XXVI. REQUIRED GRAB BARS NOT PROVIDED IN SHOWER
  COMPARTMENT IN RESTROOM OF PARTIAL OCEAN VIEW QUEEN GUEST ROOM
  AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM.
                        a. 608.3 Grab Bars. Grab bars shall comply with 609 and shall be
                           provided in accordance with 608.3. Where multiple grab bars
                           are used, required horizontal grab bars shall be installed at the
                           same height above the finish floor. ADAAG 608.3.1 Transfer
                           Type Shower Compartments. In transfer type compartments,
                           grab bars shall be provided across the control wall and back
                           wall to a point 18 inches (455 mm) from the control wall.
                           ADAAG 608.3.2 Standard Roll-In Type Shower
                           Compartments. Where a seat is provided in standard rollin
                           type shower compartments, grab bars shall be provided on the
                           back wall and the side wall opposite the seat. Grab bars shall
                           not be provided above the seat. Where a seat is not provided in
                           standard roll-in type shower compartments, grab bars shall be
                           provided on three walls. Grab bars shall be installed 6 inches
                           (150 mm) maximum from adjacent walls. ADAAG 608.3.3
                           Alternate Roll-In Type Shower Compartments. In alternate
                           roll-in type shower compartments, grab bars shall be provided
                           on the back wall and the side wall farthest from the
                           compartment entry. Grab bars shall not be provided above the
                           seat. Grab bars shall be installed 6 inches (150 mm) maximum
                           from adjacent walls.
             XXVII.     INACCESSIBLE RECESSED WALL SHELF IN SHOWER
  COMPARTMENT IN RESTROOM OF PARTIAL OCEAN VIEW QUEEN GUEST ROOM
  AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM. NON-COMPLIANT HEIGHT OF RECESSED WALL SHELF IN SHOWER
  COMPARTMENT IN RESTROOM OF PARTIAL OCEAN VIEW QUEEN GUEST ROOM
  EXCEEDS MAXIMUM HEIGHT ALLOWANCE.

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                        a. ADAAG 603 Toilet and Bathing Rooms ADAAG 603.1
                           General. Toilet and bathing rooms shall comply with 603.
                           ADAAG 603.4 Coat Hooks and Shelves. Coat hooks shall be
                           located within one of the reach ranges specified in 308.
                           Shelves shall be located 40 inches minimum and 48 inches
                           maximum above the finish floor.
             XXVIII.    INACCESSIBLE WATER CLOSET IN RESTROOM OF
  PARTIAL OCEAN VIEW QUEEN ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON
  HOTEL'S WEBSITE RESERVATION SYSTEM. REQUIRED MINIMUM CLEARANCE
  NOT PROVIDED AT WATER CLOSET IN RESTROOM OF PARTIAL OCEAN VIEW
  QUEEN GUEST ROOM.
                        a. ADAAG 604 Water Closets and Toilet Compartments
                           ADAAG 604.3 Clearance. Clearances around water closets
                           and in toilet compartments shall comply with 604.3. ADAAG
                           604.3.1 Size. Clearance around a water closet shall be 60
                           inches (1525 mm) minimum measured perpendicular from the
                           side wall and 56 inches (1420 mm) minimum measured
                           perpendicular from the rear wall.
             XXIX. REQUIRED GRAB BARS NOT PROVIDED ON REAR AND SIDE
  WALLS OF WATER CLOSET IN RESTROOM OF PARTIAL OCEAN VIEW QUEEN
  ROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION
  SYSTEM.
                        a. ADAAG 604.5 Grab Bars. Grab bars for water closets shall
                           comply with 609. Grab bars shall be provided on the side wall
                           closest to the water closet and on the rear wall.
             XXX. INACCESSIBLE SHOWER COMPARTMENT IN UNIDENTIFIED
  RESTROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S WEBSITE
  RESERATION SYSTEM. NON-COMPLIANT HEIGHT OF EXISTING THRESHOLD AT
  SHOWER COMPARTMENT IN UNIDENTIFIED RESTROOM ACTS AS A BARRIER TO
  ACCESSIBILITY.
                        a. ADAAG 608.7 Thresholds. Thresholds in roll-in type shower
                           compartments shall be ½ inch (13 mm) high maximum in
                           accordance with 303. In transfer type shower compartments,
                           thresholds ½ inch (13 mm) high maximum shall be beveled,
                           rounded, or vertical.
             XXXI. REQUIRED MINIMUM CLEARANCE NOT PROVIDED ADJACENT
  TO SHOWER COMPARTMENT IN UNIDENTIFIED RESTROOM AS DISPLAYED IN
  PHOTOS SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                        a. ADAAG 608.2.2.1 Clearance. A 30 inch (760 mm) wide
                           minimum by 60 inch (1525 mm) long minimum clearance shall
                           be provided adjacent to the open face of the shower
                           compartment.
             XXXII.     NON-COMPLIANT SHOWER SPRAY UNIT IN SHOWER
  COMPARTMENT IN UNIDENTIFIED RESTROOM AS DISPLAYED IN PHOTOS
  SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM. REQUIRED SHOWER



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  SPRAY UNIT WITH HOSE NOT PROVIDED IN SHOWER COMPARTMENT IN
  UNIDENTIFIED RESTROOM.
                       a. ADAAG 608 Shower Compartments ADAAG 608.1 General.
                           Shower compartments shall comply with 608. ADAAG 608.6
                           Shower Spray Unit and Water. A shower spray unit with a hose
                           59 inches (1500 mm) long minimum that can be used both as a
                           fixed-position shower head and as a hand-held shower shall be
                           provided. The shower spray unit shall have an on/off control
                           with a non-positive shut-off. If an adjustable-height shower
                           head on a vertical bar is used, the bar shall be installed so as not
                           to obstruct the use of grab bars. Shower spray units shall
                           deliver water that is 120°F (49°C) maximum.
             XXXIII.    INACCESSIBLE SHOWER FIXTURE IN SHOWER
  COMPARTMENT IN UNIDENTIFIED RESTROOM AS DISPLAYED IN PHOTOS
  SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM. NON-COMPLIANT
  HEIGHT OF SHOWER FIXTURE IN SHOWER COMPARTMENT IN UNIDENTIFIED
  RESTROOM EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
                        a. ADAAG 608.5.1 Transfer Type Shower Compartments. In
                            transfer type shower compartments, the controls, faucets, and
                            shower spray unit shall be installed on the side wall opposite
                            the seat 38 inches (965 mm) minimum and 48 inches (1220
                            mm) maximum above the shower floor and shall be located on
                            the control wall 15 inches (380 mm) maximum from the
                            centerline of the seat toward the shower opening. ADAAG
                            608.5.2 Standard Roll-In Type Shower Compartments. In
                            standard roll-in type shower compartments, the controls,
                            faucets, and shower spray unit shall be located above the grab
                            bar, but no higher than 48 inches (1220 mm) above the shower
                            floor. Where a seat is provided, the controls, faucets, and
                            shower spray unit shall be installed on the back wall adjacent
                            to the seat wall and shall be located 27 inches (685 mm)
                            maximum from the seat wall.
             XXXIV.     REQUIRED SEAT NOT PROVIDED IN SHOWER
  COMPARTMENT IN UNIDENTIFIED RESTROOM AS DISPLAYED IN PHOTOS
  SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                        a. ADAAG 608.4 Seats. A folding or non-folding seat shall be
                            provided in transfer type shower compartments. A folding seat
                            shall be provided in roll-in type showers required in transient
                            lodging guest rooms with mobility features complying with
                            806.2. Seats shall comply with 610.
             XXXV.      REQUIRED GRAB BARS NOT PROVIDED IN SHOWER
  COMPARTMENT IN UNIDENTIFIED RESTROOM AS DISPLAYED IN PHOTOS
  SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                        a. 608.3 Grab Bars. Grab bars shall comply with 609 and shall be
                            provided in accordance with 608.3. Where multiple grab bars
                            are used, required horizontal grab bars shall be installed at the

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                          same height above the finish floor. ADAAG 608.3.1 Transfer
                          Type Shower Compartments. In transfer type compartments,
                          grab bars shall be provided across the control wall and back
                          wall to a point 18 inches (455 mm) from the control wall.
                          ADAAG 608.3.2 Standard Roll-In Type Shower
                          Compartments. Where a seat is provided in standard rollin
                          type shower compartments, grab bars shall be provided on the
                          back wall and the side wall opposite the seat. Grab bars shall
                          not be provided above the seat. Where a seat is not provided in
                          standard roll-in type shower compartments, grab bars shall be
                          provided on three walls. Grab bars shall be installed 6 inches
                          (150 mm) maximum from adjacent walls. ADAAG 608.3.3
                          Alternate Roll-In Type Shower Compartments. In alternate
                          roll-in type shower compartments, grab bars shall be provided
                          on the back wall and the side wall farthest from the
                          compartment entry. Grab bars shall not be provided above the
                          seat. Grab bars shall be installed 6 inches (150 mm) maximum
                          from adjacent walls.
             XXXVI.    INACCESSIBLE RECESSED WALL SHELF IN SHOWER
  COMPARTMENT IN UNIDENTIFIED RESTROOM OF AS DISPLAYED IN PHOTOS
  SUPPLIED ON HOTEL'S WEBSITE RESERVATION SYSTEM. NON-COMPLIANT
  HEIGHT OF RECESSED WALL SHELF IN SHOWER COMPARTMENT IN
  UNIDENTIFIED RESTROOM EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
                       a. ADAAG 603 Toilet and Bathing Rooms ADAAG 603.1
                          General. Toilet and bathing rooms shall comply with 603.
                          ADAAG 603.4 Coat Hooks and Shelves. Coat hooks shall be
                          located within one of the reach ranges specified in 308.
                          Shelves shall be located 40 inches minimum and 48 inches
                          maximum above the finish floor.
             XXXVII.   INACCESSIBLE LAVATORY IN UNIDENTIFIED
  RESTROOM. REQUIRED MINIMUM KNEE AND TOE CLEARANCE NOT PROVIDED AT
  LAVATORY IN UNIDENTIFIED RESTROOM AS DISPLAYED IN PHOTOS SUPPLIED
  ON HOTEL'S WEBSITE RESERVATION SYSTEM.
                       a. ADAAG 606 Lavatories and Sinks ADAAG 606.2 Clear Floor
                          Space. A clear floor space complying with 305, positioned for
                          a forward approach, and knee and toe clearance complying
                          with 306 shall be provided. ADAAG 306.2 Toe Clearance.
                          ADAAG 306.2.3 Minimum Required Depth. Where toe
                          clearance is required at an element as part of a clear floor
                          space, the toe clearance shall extend 17 inches (430 mm)
                          minimum under the element. ADAAG 306.2.5 Width. Toe
                          clearance shall be 30 inches (760 mm) wide minimum.
                          ADAAG 306.3 Knee Clearance. ADAAG 306.3.3 Minimum
                          Required Depth. Where knee clearance is required under an
                          element as part of a clear floor space, the knee clearance shall
                          be 11 inches deep minimum at 9 inches above the ground, and

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                         8 inches deep minimum at 27 inches (685 mm) above the finish
                         floor or ground. ADAAG 306.3.5 Width. Knee clearance shall
                         be 30 inches (760 mm) wide minimum.
             XXXVIII. INSULATION OF PIPES AND WATER LINES UNDER THE
  LAVATORY IN UNIDENTIFIED RESTROOM NOT PROVIDED AS REQUIRED.
                      a. ADAAG 606.5 Exposed Pipes and Surfaces. Water supply and
                         drain pipes under lavatories and sinks shall be insulated or
                         otherwise configured to protect against contact. There shall be
                         no sharp or abrasive surfaces under lavatories and sinks.
             XXXIX.   INACCESSIBLE MIRROR LOCATED ABOVE LAVATORY IN
  UNIDENTIFIED RESTROOM AS DISPLAYED IN PHOTOS SUPPLIED ON HOTEL'S
  WEBSITE RESERVATION SYSTEM. NON COMPLIANT HEIGHT OF MIRROR IN
  UNIDENTIFIED RESTROOM EXCEEDS MAXIMUM HEIGHT ALLOWANCE.
                      a. ADAAG 603.3 Mirrors. Mirrors located above lavatories or
                         countertops shall be installed with the bottom edge of the
                         reflecting surface 40 inches (1015 mm) maximum above the
                         finish floor or ground. Mirrors not located above lavatories or
                         countertops shall be installed with the bottom edge of the
                         reflecting surface 35 inches (890 mm) maximum above the
                         finish floor or ground.

            21.   The above listing is not to be considered all-inclusive of the barriers, conditions or

  violations encountered by Plaintiff and/or which exist at the facility. Plaintiff requires an

  inspection of the facility in order to determine all of the discriminatory acts violating the ADA.

            22.   Mr. Hansen because of his disability has been denied access to, and has been

  denied the benefits of services, programs, and activities of the facility, and has otherwise been

  discriminated against and damaged by Defendant, because of the physical barriers, dangerous

  conditions and ADA violations set forth above, and expects to be discriminated against in the

  future, unless and until Defendant is compelled to remove the unlawful barriers and conditions

  and comply with the ADA.

            23.   The removal of the physical barriers, dangerous conditions and ADA violations set

  forth herein is readily achievable and can be accomplished and carried out without much

  difficulty or expense. 42 U.S.C. § 12182(B)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R, §

  36.304.

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          24.   Plaintiff is without adequate remedy at law and is suffering irreparable harm, and

  reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant

  is required to remove the physical barriers, dangerous conditions and ADA violations that exist

  at the facility, including those set forth herein.

          25.     The Plaintiff has been obligated to retain undersigned counsel for the filing and

  prosecution of this action. The Plaintiff is entitled to have his reasonable attorney’s fees, costs

  and expenses paid by the Defendants, pursuant to 42 U.S.C., §§ 12205 and 12217.

          26.   Pursuant to 42 U.S.C. §12188(a), this Court is provided with authority to grant

  injunctive relief to Plaintiff, including an order to alter the subject facility to make it readily

  accessible to and useable by individuals with disabilities to the extent required by the ADA, and

  closing the subject facility until the requisite modifications are completed.

          WHEREFORE, Plaintiff, Christopher Hansen, respectfully requests that the Court issue

  a permanent injunction enjoining Defendants from continuing is discriminatory practices,

  ordering Defendant to implement policies, consistent with the ADA, to accommodate the

  disabled, through requiring Defendant to alter and maintain the online reservation system for the

  Property in accordance with the requirements set forth in paragraph 7 above and ordering

  Defendants to remove the physical barriers to access and alter the subject facility to make it

  readily accessible to and useable by individuals with disabilities to the extent required by the

  ADA, closing the subject facility until the barriers are removed and requisite alterations are

  completed, and awarding Plaintiff his reasonable attorney’s fees, expert fees, costs and litigation

  expenses incurred in this action.


                                                  Respectfully submitted,

                                                  s/ Lauren Wassenberg


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